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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Eiser Infrastructure Limited and Energia Solar
Luxembourg S.A.R.L.,

                     Petitioners,

         v.                                      Civil Action No. 1:18-cv-01686-CKK

Kingdom of Spain,

                     Respondent.


                      Expert Declaration of Andrea K. Bjorklund




                             EXHIBIT 24
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